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                   EXHIBIT E
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                                          LEGAL NOTICE

    Purchased Broiler Chicken Indirectly for Commercial Use Since 2008?
           You Could Get Money from Class Action Settlements
                    Totaling Approximately $103 Million
Defendants Amick Farms, LLC, Fieldale Farms Corporation, George’s Inc. and George’s Farms, Inc., Mar-
Jac Poultry, Inc., Mar-Jac Poultry MS, LLC, Mar-Jac Poultry AL, LLC, Mar-Jac AL/MS, Inc., Mar-Jac
Poultry, LLC, and Mar-Jac Holdings, Inc., Peco Foods, Inc., Pilgrim’s Pride Corporation, Tyson Foods, Inc.,
Tyson Chicken, Inc., Tyson Breeders, Inc., and Tyson Poultry, Inc. (collectively, “Settling Defendants”) have
agreed to Settlements resolving claims that they conspired to fix prices and manipulated the supply of broiler
chickens (“Broilers”), which may have caused businesses to pay more for Broilers. Broilers are chickens raised
for meat consumption which are sold in a variety of forms, including fresh or frozen, raw or cooked, whole or
in parts, or as a meat ingredient. Settling Defendants deny these claims. The Court has not made any final
decision as to which side is right.

                                                Am I Included?
Your company may be included if, from January 1, 2008, through July 31, 2019, it indirectly purchased
Broilers from a Defendant or co-conspirator in the United States for use in commercial food preparation. The
largest categories of purchasers included are businesses that purchased Broilers through distributors such as
restaurants, grocery store deli counters that commercially prepare meals, and institutional purchasers such as
nongovernmental hospitals, nursing homes, and schools. A more detailed notice, including the exact Class
definitions and exceptions to Class membership, is available at www.xxxxxxxxxxx.com.

                                    What do the Settlements provide?
The Settlements provide for the combined payment of approximately $103 million in cash to the Settlement
Classes to resolve all Settlement Class claims against the Settling Defendants and their affiliates. If the
Settlements are approved, the Settling Defendants will be dismissed from the case. The Settling Defendants
have also agreed to certain types of cooperation in the pursuit of claims against the other non-Settling
Defendants and certain Settling Defendants have agreed to injunctive relief.

                                          How can I get a payment?
In order to be eligible to receive a payment from the Settlements you must submit a valid Claim Form no later
than xxxxxxx xx, 2022, and have made your indirect Broiler purchase in one of the following states: Arizona,
California, Connecticut (only for the Amick Farms settlement), District of Columbia, Florida, Hawaii, Illinois,
Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska,
Nevada, New Hampshire, New Mexico, New York, North Carolina, North Dakota, Oregon, Rhode Island,
South Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin. You may submit a
Claim Form either online or by mail. More details about how the funds will be allocated and the Claim Form
are available at www.xxxxxxxxxxxxxx.com.

                                       When will I get a payment?
Payments from the Settlements will not be distributed until the Court grants final approval of the Settlements,
any objections or appeals are resolved, and all claims have been processed and verified. Updates will be
provided on the website at www.xxxxxxxxxxxxxx.com.

                                           What are my rights?
If you do nothing, you will be bound by the Court’s decisions concerning these Settlements. If you want to
keep your right to sue one or more of the Settling Defendants regarding Broiler purchases, you must exclude
                   For More Information: 1-866-XXX-XXXX/www.XXXXXXXX.com
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yourself from the Settlement Classes in writing by xxxxxxx xx, 2022. You may exclude yourself from one or
more of the Settlements. If you exclude yourself from a Settlement, you will not be eligible to receive money
from that Settlement. If you stay in the Classes, you may object to one or more of the Settlements in writing
by xxxxxxx xx, 2022. The Settlement Agreements, along with details on how to exclude yourself or object,
are available at www.xxxxxxxxxxxxxx.com.

                                          The Final Fairness Hearing
The U.S. District Court for the Northern District of Illinois will hold a hearing on xxxxxxx xx, 2022, at xx:xx
x.m., at the United States District Court for the Northern District of Illinois, 219 S. Dearborn Street, Chicago,
IL 60604 to consider whether to finally approve the Settlements. Class Counsel will also request service awards
in an amount not to exceed $15,000 per class representative, attorneys’ fees of up to 35% of the Settlement
Funds, and reimbursement of litigation costs and expenses not to exceed $10,658,854.99. You or your own
lawyer may appear and speak at the hearing at your own expense, but you do not have to. The hearing may be
moved to a different date or time or may be held by video conference without additional notice, so it is a good
idea to check the above-noted website for additional information. Please do not contact the Court about this
case.

If the case against the other Defendants is not dismissed or settled, Class Counsel will have to prove their
claims against the other Defendants at trial. Dates for the trial have not yet been set. The Court has appointed
the law firms of Cotchett, Pitre & McCarthy, LLP and Gustafson Gluek PLLC to represent Settlement Class
Members.




                   For More Information: 1-866-XXX-XXXX/www.XXXXXXXX.com
